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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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HITLER CALLE, individually and on behalf
of others similarly situated,                           1:20-cv-04178-LDH-LB

                                                        CERTIFICATE OF SERVICE
                               Plaintiff,
               -against-


PIZZA PALACE CAFE LLC (D/B/A PIZZA
PALACE CAFE), SASHA ISHAQOV, YURI
ISHAQOV, and VLADY DJOURAEV,




                        Defendants,
---------------------------------------X
     Fidel Lozano certifies as follows:

       I am a natural person above the age of eighteen years and am not a party in the above­

captioned action. On this twenty-third day of February, 2021, I served copies of PLAINTIFF

HITLER CALLE'S MOTION FOR DEFAULT (Doc. No. 28 & 29) , dated 6/12/2021, via First

Class Mail. Return Receipt Requested to:


  Pizza Palace Cafe LLC
  63-60 108th St
  Queens, NY 11375

  Pizza Palace Cafe
  c/o Sasha Ishaqov
  63-60 108th St
  Queens, NY 11375

  Pizza Palace Cafe
  c/o Yuri Ishaqov
  63-60 108th St
  Queens, NY 11375                          FIDEL LOZANO
  Pizza Palace Cafe
  c/o Vlady Djouraev
  63-60 108th St
  Queens, NY 11375
